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14                                  UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
16                                        SAN JOSE DIVISION
17   JOHN STOSSEL, an individual,
                                                      Case No. 5:21-cv-07385-VKD
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                   Plaintiff,
19                                                    [PROPOSED] ORDER ON
           v.                                         STIPULATION REGARDING STAY
20                                                    OF DISCOVERY AND
     FACEBOOK, INC., a Delaware corporation;          CONTINUATION OF INITIAL CASE
21   SCIENCE FEEDBACK, a French non-profit            MANAGEMENT CONFERENCE
     organization; and CLIMATE FEEDBACK, a French
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     non-profit organization,
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                   Defendants.
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28    CASE NO.: 5:21-CV-07385-VKD                                [PROPOSED] ORDER ON STIPULATION
                                                                 REGARDING STAY OF DISCOVERY AND
                                                                 CONTINUATION OF INITIAL CASE
                                                                 MANAGEMENT CONFERENCE
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 1                                         [PROPOSED] ORDER

 2   PURSUANT TO STIPULATION, IT IS SO ORDERED that:

 3         1.      All discovery, including initial disclosures pursuant to Fed. R. Civ. P. 26, shall be

 4                 stayed until the Court has issued an Order deciding Meta’s forthcoming Motion to

 5                 Dismiss, except that Plaintiff reserves the right to seek discovery on any factual issues

 6                 raised by any special motion to strike filed by Meta pursuant to California’s anti-

 7                 SLAPP law;

 8         2.      If the Court denies Meta’s Motion to Dismiss either in whole or in part, initial

 9                 disclosures pursuant to Fed. R. Civ. P. 26 shall be due 14 days after the Court’s

10                 ruling.

11         2.      The initial Case Management Conference is hereby continued to January 4, 2022.

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13           November 27, 2021
     Dated: ________________________
14                                                              By: Hon. Virginia K. DeMarchi

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     CASE NO.: 5:21-CV-07385-VKD                                 [PROPOSED] ORDER ON STIPULATION REGARDING
                                                                 STAY OF DISCOVERY AND CONTINUATION OF
                                                                 INITIAL CASE MANAGEMENT CONFERENCE
